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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF KENTUCKY
                          CENTRAL DIVISION - LEXINGTON

UNITED STATES OF AMERICA,                             CRIMINAL NO. 5:18-116-KKC
         Plaintiff,

V.                                                     MEMORANDUM OPINION

QUINICINO L. WAIDE and
DOROTHY MAE WAIDE,
         Defendants.



                                        *** *** ***

     This matter is before the Court on Quinicino Waide and Dorothy Waide’s (“Defendants”)

Motion to Suppress (DE 55), which seeks to suppress all evidence supporting the charges

against them. The Court held a Suppression Hearing to consider evidence relating to the

Defendants’ Motion. At that Hearing, defense counsel requested to file a supplemental brief

further addressing the suppression issues, and the Court granted their request. (DE 63).

The Court has reviewed the parties’ briefs and the Court’s Suppression Hearing transcript.

For the reasons stated below, the Defendants’ Motion to Suppress (DE 55) is DENIED.

                                     I. BACKGROUND

     The Defendants were charged with a series of crimes after police secured and executed

search warrants on the units of their duplex. The investigation culminating in the arrests of

the Defendants began after firefighters and police were alerted to a shed fire that occurred

at their neighbor’s property. (DE 65 Supp. Hr’g Tr. at 4-5.) Captain Chris O’Bryan, an arson

investigator, was assigned to attempt to determine the origin and cause of the fire. (DE 65

at 4.)




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   The shed fire was called in at 4:40 a.m. on July 23, 2018. (DE 65 at 30.) O’Bryan was

called to the scene by fire crews and arrived at 5:30 a.m. the same morning. (DE 65 at 6.)

O’Bryan spoke with the incident commander upon his arrival, who told him that items had

been removed from the shed and appeared to have been set on fire. (DE 65 at 5.) The incident

commander further informed O’Bryan that the house on the property was vacant and possibly

used by squatters. (DE 65 at 5.) O’Bryan continued his investigation by looking around the

area and attempting to locate potential witnesses.      During his search, O’Bryan noticed

sophisticated cameras mounted to a neighboring property—the duplex occupied by the

Defendants. (DE 65 at 6.) At the time, no one appeared to be around. O’Bryan’s investigation

was briefly halted when he had to leave the scene to attend court on an unrelated matter.

(DE 65 at 6.)

   Later that day, O’Bryan returned to continue his investigation. Upon arrival, O’Bryan

came into contact with Dorothy Waide, who was on the sidewalk outside her home. (DE 65

at 10.) O’Bryan asked Dorothy where she lived and whether she had seen anything the night

of the fire. Dorothy identified her residence as Apartment 1 of the duplex neighboring the

shed fire. (DE 65 at 10-11.) O’Bryan asked Dorothy about the cameras and asked if she had

any video surveillance from the night of the fire. She replied that the cameras belonged to

her son, Quinicino. (DE 65 at 11.) She further stated that all the equipment was upstairs in

Apartment 3 of the duplex and that he probably would not release the footage. (DE 65 at 11.)

   Dorothy assisted O’Bryan in trying to locate the 911 caller who reported the fire. (DE 65

at 11-12.) O’Bryan located the home of the caller, which was across the street from the shed

fire. (DE 65 at 12.) O’Bryan spoke to a woman who identified herself as the 911 caller’s

mother. (DE 65 at 12.) She informed O’Bryan that her son called in the fire and that he had

left for a visit to Las Vegas, Nevada. (DE 65 at 12.)



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   Dorothy Waide then took O’Bryan over to an individual who knew the owner of the

property. (DE 65 at 31.) O’Bryan contacted the owner, Andrea Wallace, and informed her of

the fire. (DE 65 at 31-32.) O’Bryan asked her about the contents of the shed. She replied

that they were sentimental items from her deceased mother, including some antiques, a

motorcycle, and a typewriter. (DE 65 at 32-33 and 44.) O’Bryan told her to ask around and

see if anybody had any information regarding the fire. (DE 65 at 33.)

   Shortly thereafter, O’Bryan came into contact with Quinicino near his home. (DE 65 at

12-13.) O’Bryan testified that he smelled an odor of marijuana coming from Quinicino. (DE

65 at 14.) O’Bryan asked Quinicino where he lived, and he identified that he lived in

Apartment 3 of the duplex neighboring the shed fire. (DE 65 at 13.) O’Bryan explained his

investigation and asked whether there was any way he could review the video surveillance

footage from the night of the fire. (DE 65 at 13.) Quinicino refused to release the footage.

(DE 65 at 13.) Following this encounter, O’Bryan concluded his investigation for the day.

   The following day, July 24, 2018, O’Bryan resumed his investigation. That morning, he

spoke again with the victim, Wallace. (DE 65 at 31.) Wallace informed him that someone

had observed a vehicle drive up near the property just prior to the fire and saw them removing

items from the shed. (DE 65 at 31.) She further stated that her ex-husband was vindictive

and could be responsible for the fire. (DE 65 at 32-33.) The anniversary of her mother’s

death was the day prior, so she thought there might be a connection. (DE 65 at 33.)

   O’Bryan applied for a search warrant to collect the DVR and recording device (“DVR

Warrant”) from Quinicino’s home in attempt to determine if the video footage contained any

information related to the fire. (DE 65 at 14.) Thereafter, O’Bryan—in accordance with

routine procedures—contacted the Lexington Police Department to help him execute the

warrant. (DE 65 at 15.) Upon asking for assistance, based on the smell of marijuana on



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Quinicino and location of the home, the Police Department told O’Bryan to contact the

lieutenant from narcotics. (DE 65 at 15 and 46.)

   Two narcotics officers, Detectives Jared Curtsinger and Matthew Evans, met up with

O’Bryan and other fire investigators near the Defendants’ home. (DE 65 at 15-16.) They

attempted to execute the DVR Warrant on Apartment 3 of the duplex, but no one was home.

(DE 65 at 16.) Noticing that Dorothy’s car was in the driveway, O’Bryan made contact and

asked if she could call Quinicino to come to the scene. (DE 65 at 16.) She did, and Quinicino

arrived shortly thereafter. (DE 65 at 16.)

   Quinicino pulled up to the home with his cousin, Vance Waide. (DE 65 at 17-18.) Officers

explained that they were there to execute a search warrant for the DVR and recording

equipment. (DE 65 at 18.) At that time, Quinicino told officers that he could just go up to the

apartment and get the recording equipment for them. (DE 65 at 18.) Officers informed

Quinicino that they already had taken the steps to secure a warrant and intended to execute

it. (DE 65 at 18.)

   Officers then asked Quinicino if he had any marijuana or other drugs in the apartment.

(DE 65 at 18.) Quinicino advised that he had a little marijuana in the apartment. (DE 65 at

18 and 124.) Curtsinger then walked over to Quinicino’s vehicle, which was parked on the

public street outside the home. (DE 55-4 at 5.) The windows of the vehicle were down, and

Curtsinger smelled marijuana emanating from his car. (DE 55-4 at 5.) Curtsinger located a

burnt marijuana cigarette and grinder in the console area. (DE 55-4 at 5.) Based on his

findings and Quinicino’s admission, Curtsinger decided to leave the residence to get another

search warrant for Apartment 3. (DE 65 at 19.) Some time during this interaction, Quinicino

was detained by officers. (DE 65 at 18, 92-93, and 103.)

   Everyone else remained at the residence. Quinicino remained detained, but Dorothy and

Vance were free to move in and out of Apartment 1. (DE 65 at 19.) Officers were told there
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was no access from Apartment 1 to Apartment 3.          (DE 65 at 76.)    While waiting for

Curtsinger’s return, Vance and Quinicino were observed having a series of hushed

communications. (DE 65 at 19-20.) Vance and Dorothy were also observed going back and

forth in and out of Apartment 1. (DE 65 at 19-20.)

   Then, Vance and Dorothy entered and remained in Apartment 1. (DE 65 at 60-61.) The

door to the apartment was shut and the blinds were closed. (DE 65 at 61 and 75.) The officers

and fire investigators continued to observe from outside the home while waiting for

Curtsinger to return. (DE 65 at 61 and 75-76.)

   One of the fire investigators, Lieutenant Anthony Johnson, informed the other

individuals at the scene that he had heard loud banging coming from inside Apartment 1

that sounded like the ceiling was being pulled down. (DE 65 at 21, 63, and 75.) He

additionally observed the drip line pipes from an air conditioner connected to Apartment 3

moving substantially. (DE 65 at 62.) He then informed O’Bryan that he believed someone

was in Apartment 3. (DE 65 at 63.) At that time, officers got the key and entered Apartment

3. (DE 65 at 22 and 77.)

   Evans began clearing the apartment to make sure no one was in Apartment 3. (DE 65 at

78.) In his sweep, he encountered a large hole, approximately four-by-four feet, leading up

from Apartment 1. (DE 65 at 23 and 79.) Through the hole, Evans observed dry wall and

insulation scattered across the kitchen floor of Apartment 1 and a step ladder leading up to

Apartment 3. (DE 65 at 79.) Officers promptly ran down to make sure no one was fleeing

from Apartment 1 or destroying evidence. (DE 65 at 23 and 49.)

   Upon entry of Apartment 1, the bathroom and kitchen sinks were overflowing and clogged

with a white substance. (DE 65 at 82 and 85.) The occupants were detained and escorted

out of the residence. (DE 65 at 82.) Evans turned off both sinks and went outside to wait for



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Curtsinger to return with the search warrants. (DE 65 at 82.) Officers still had yet to search

either apartment. (DE 65 at 84.)

   Approximately two hours later, Curtsinger returned with search warrants (Narcotics

Warrants) for Apartment 1 and Apartment 3. (DE 65 at 40.) He had been in contact with

Evans who relayed him information from the scene. (DE 65 at 104.) They executed the

warrants on both apartments, found a firearm, large quantities of money and drugs, and

collected the DVR. (DE 65 at 52 and 90.)

   Defendants Quinicino and Dorothy now move this Court to suppress all evidence against

them. (DE 55 and 56). They assert the following: (1) the DVR Warrant lacks probable cause,

is overly broad, and was not the least intrusive means available to obtain the camera system;

(2) all evidence found during the execution of the DVR Warrant must be suppressed as fruit

of the poisonous tree; (3) the Defendant’s Miranda rights were violated; and (4) exigent

circumstances cannot justify police entry. (DE 55 and 69.) At the Suppression Hearing, the

Court heard further arguments and evidence regarding the suppression issues. The Court

considers the parties’ arguments below.

                                          II. ANALYSIS

   A. There was probable cause for the DVR Warrant.

   There was sufficient probable cause for the DVR Warrant secured by Captain O’Bryan.

The Fourth Amendment requires that all warrants issued be based on probable cause. U.S.

Const. Amend. IV. Probable cause exists when there is a fair probability—given the totality

of the circumstances—that contraband or evidence of a crime will be found in a particular

place. United States v. Loggins, 777 F.2d 336, 338 (6th Cir. 1985). It only requires that there

be a substantial chance of finding criminal activity. See Illinois v. Gates, 462 U.S. 213, 243

(1983). There is sufficient probable cause when the facts available would warrant a

reasonable man to believe that evidence of a crime is located in a certain place. Texas v.
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Brown, 460 U.S. 730, 742 (1982). A Magistrate’s decision regarding a finding of probable

cause should be awarded great deference and his discretion reversed only if it was arbitrarily

exercised. United States v. Algie, 721 F.2d 1039, 1041 (6th Cir. 1983); United States v. Allen,

211 F.3d 970, 973 (6th Cir. 2000). If there was a substantial basis for the Magistrate’s

determination of probable cause, then the reviewing court must uphold his decision. Gates,

462 U.S. at 236.

   When an unnamed witness provides the majority of the factual information to support a

search warrant, the Court must consider the veracity, reliability, and basis of knowledge for

the information as part of the totality of the circumstances. United States v. Dyer, 580 F.3d.

386, 390 (6th Cir. 2009). Two factors are often used to determine whether an affidavit based

on an unnamed witness’s story provides a substantial basis for finding probable cause: (1)

whether the affidavit contains an explicit and detailed description of the alleged

wrongdoing—events observed first-hand are given greater weight; and (2) whether police

have independently worked to corroborate the tip. See Gates, 462 U.S. at 233. Neither of

these factors are dispositive, and they should be considered together with all other

circumstances. Id. See also United States v. Weaver, 99 F.3d 1372, 1377 (6th Cir. 1998).

   In the present case, there was probable cause for the DVR Warrant. In applying for the

DVR warrant, O’Bryan stated the following:

   “As I began the investigation, it was determined that someone entered the property
   through one of the two gates in the fence, proceeded back to the rear, where the shed
   was located. According to the victim, a witness explained to her that someone was
   observed pulling up to the residence, entering the property and removing items from
   the shed around the time of the fire. The victim estimated the items stored inside the
   shed to be valued around $8,000. She explained the items stored were antique
   possessions that belonged to her deceased mother. At the completion of the
   investigation, the fire has been determined to have been incendiary in nature. During
   the course of the investigation, the residence directly next door (430 Douglas Ave),
   just feet away from one of the two gates on the property where the arson occurred, has
   evidence to indicate there is a surveillance camera system on the property. The
   cameras are located on the exterior and would capture public view outside of the
   residence at 430 Douglas Avenue, capturing video of the property where the arson
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   occurred. An attempt was made to get consent from the owner of the property on the
   afternoon of July 23. He denied giving of [sic] any videos captured from his
   surveillance system. (DE 55-2 at 3.)

   Considering the totality of the circumstances, the Court finds that there was sufficient

probable cause. There was a fair probability that evidence relating to the shed fire would be

located on the recording equipment mounted on the neighboring property. Even though the

warrant relies on an unnamed witness, there is sufficient corroborating evidence consistent

with the statements in the affidavit. Upon O’Bryan’s initial arrival at the fire scene, he was

informed by the incident commander that items had been removed from the shed and

appeared to have been set on fire in the lawn. (DE 65 at 5.) The incident commander further

informed O’Bryan that the house on the property was vacant and possibly used by squatters.

(DE 65 at 5.) O’Bryan’s communications with the victim, Wallace, were all consistent with

his observation and investigation of the scene. Additionally, Wallace identified some of the

items in the shed for O’Bryan, including an antique motorcycle and typewriter. (DE 65 at

44.) O’Bryan testified that during his investigation, he located the motorcycle, but not the

typewriter. (DE 65 at 44.) This further supports the accuracy of the information in the

affidavit.

   Defense also asserts that the victim did not relay her account of the witness’s story until

after O’Bryan had applied for the search warrant. (DE 69 at 2.) Defense points out that the

victim did not provide O’Bryan with the witness’s account until July 24, 2018—the same day

the search warrants were executed. (DE 69 at 2-3.) But the Defendants argument would

require either a massive coincidence or O’Bryan to have psychic abilities. The Court finds it

extremely unlikely that O’Bryan would fabricate an incident in his affidavit only to have his

fabrication be the exact story given by the victim. Instead, the Court opines that the victim

gave her account to O’Bryan the same morning he applied for the DVR search warrant, which

was signed at 10:21 a.m. on July 24, 2018. (DE 55-2 at 2.)

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   Moreover, the affidavit does not exclusively rely on the statement of the witness. It also

relies on the location and position of the recording devices. (DE 55-2 at 3.) Defense points

out that the cameras do not directly capture the shed and that any footage would have been

recorded at night, in the dark. (DE 65 at 26-27 and 120.) However, cameras and recording

equipment come in a range of sophistication, and it is impossible to know how wide the

camera angle is or whether there was sufficient light to capture activity without reviewing

the footage. Additionally, even if the cameras did not capture the actual fire, the footage

would have been helpful in developing critical information about the activity in the area

during the hours leading up to the fire.

   A search warrant must also demonstrate cause to believe that evidence is likely to be

found at the place to be searched. Groh v. Ramirez, 540 U.S. 551, 568 (2004). There must be

a nexus between the item to be seized and the criminal behavior. Warden Md. Penitentiary

v. Hayden, 387 U.S. 294, 307 (1967). The Defendants state:

   To justify a search of the apartment to seize any video recording system owned by Mr.
   Waide…police needed reason to think not only that he possessed such a system, but
   also that the device would be located in the home and would contain incriminating
   evidence. With respect to these additional considerations, other than noting the
   cameras on the back of the building, the affidavit set out no reason to believe the
   recording was “likely to be found at the place to be searched.” (DE 55 at 9.)

   But there were additional considerations other than noting the cameras on the back of

the building. The affidavit clearly establishes that O’Bryan attempted to get consent from

Quinicino to view the footage and that Quinicino refused to provide him with the equipment.

(DE 65 at 13.) Quinicino’s refusal represents that he had dominion and control over the

equipment, which supports that the system would be located in his home. The fact that he

may have indicated that there was no recording is not of consequence. There is no law

requiring that O’Bryan take his “word” at face-value—otherwise officers would rarely be able

to secure search warrants. Also, as established above, it was likely that the system would


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contain incriminating evidence based on the location and position of the cameras combined

with the victim’s account of the witness’s statement.

   Defendants further argue that the warrant was overbroad and not the least intrusive

means because officers could have issued a subpoena to obtain the video recordings. But the

DVR Warrant was specifically limited to obtaining “[a]ll equipment that can produce or

reproduce images to include but not limited to CD/DVD copying equipment or digital video

recording devices, which produces images to the outside public view.” (DE 55-2 at 2.) Fire

investigators are considered peace officers with the power to arrest and issue warrants. (DE

65 at 4.) O’Bryan asked Quinicino to provide the surveillance equipment, and he refused.

(DE 65 at 13.) O’Bryan made a logical decision in investigating the fire to exercise his powers

as a peace officer and obtain a search warrant for the surveillance equipment, which likely

contained pertinent information. His warrant was strictly limited to obtaining any DVR and

surveillance equipment. (DE 55-2 at 2-3.) The Court is aware of no law which would require

O’Bryan to take Quinicino’s “word” that there was no footage. Accordingly, the Court finds

that the warrant is not overbroad and that there was a sufficient nexus between the item to

be seized and the criminal behavior. See Warden, 387 U.S. at 307.

   The investigative methods used by officers should also be the least intrusive means

reasonably available to verify and dispel the officer’s suspicion. Florida v. Royer, 460 U.S.

491, 500 (1982). While the Court recognizes the possibility of obtaining the equipment by

subpoena, O’Bryan was not required to do so. O’Bryan obtained a warrant because of

Quinicino’s refusal to provide him with the equipment. (DE 65 at 34-35.) O’Bryan testified

that usually individuals provide consent for such items upon request to help aid in the

investigation. (DE 65 at 35.) Quinicino’s refusal to let O’Bryan review the equipment is

sufficient to support a conclusion that even if there was evidence of the crime on the

surveillance equipment, he was not going to provide it. A subpoena would have given
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Quinicino the opportunity to alter or destroy the evidence. Accordingly, the Court will not

scrutinize O’Bryan’s decision to obtain a search warrant because he was justified in doing so.

    The Magistrate’s determination of probable cause should not be disturbed because the

location and position of the cameras combined with the victim’s account of the witness’s

statement provide a substantial basis to find probable cause. See Gates, 462 U.S. at 236.

Because there was probable cause to support the DVR Warrant, the evidence should not be

suppressed as fruit of the poisonous tree.1

    B. The good faith exception.

    A search warrant issued by a Magistrate that is subsequently determined to be invalid

does not require suppression if the officer acted in good faith and within the scope of the

warrant. United States v. Leon, 468 U.S. 897 (1984). There are four exceptions to this rule:

(1) the affidavit contains information that the affiant knew or should have known to be false;

(2) the issuing Magistrate lacked neutrality and detachment; (3) the affidavit is devoid of

information to support a probable cause determination making any belief that probable cause

exists completely unreasonable; or (4) the warrant is facially deficient. Id. However, Courts

only need to address the issue of the good faith exception when a search warrant is issued

without probable cause. See Illinois v. Krull, 480 U.S. 340, 347 (1987).

    Here, the Defendants argue that the affidavit to support the DVR Warrant is devoid of

information to support a probable cause determination making any belief that probable cause

exists completely unreasonable. (DE 55 at 13.) The Court determined that the DVR Warrant

was based on probable cause. Accordingly, the Defendants argument regarding the good

faith exception is moot.




1 The fruit of the poisonous tree doctrine requires a Court to suppress all evidence stemming from a search warrant

that lacks probable cause. See Wong Sun v. U.S., 371 U.S. 471 (1963).

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   But even if the DVR Warrant was not based on probable cause, the affidavit certainly was

not devoid of information to support a probable cause determination making any belief that

probable cause exists completely unreasonable.         The affidavit includes the following

information to support probable cause: (1) the account of the victim that there were antique

possessions inside the shed; (2) that a witness told the victim that someone was observed

pulling up to the home and removing items from the shed around the time of the fire; (3) that

there were gates in the backyard allowing entry and exit; (4) that the fire was determined to

be incendiary in nature; (5) the location and position of nearby surveillance equipment

mounted on the Defendants’ home; (6) the officer’s attempt to get consent to search the

equipment; and (7) an account of Quinicino’s refusal to provide the equipment. (DE 55-2 at

3.) There is nothing to indicate that the officers did not act in good faith or within the scope

of the warrant they were executing. Consequently, if the DVR warrant lacked sufficient

probable cause, the good faith exception would be applicable, and suppression would not be

required.

   C. Probable cause for the Narcotics Warrants and search of Quinicino’s vehicle.

   Although it appears that the Defendants do not contest the probable cause for the vehicle

search or Narcotics Warrants, out of an abundance of caution, the Court will address the

probable cause for each.

   The Narcotics Warrant for Apartment 3 is based on probable cause because there was a

fair probability—given the totality of the circumstances—that contraband would be found.

See Loggins, 777 F.2d at 338. Here, Officers were on the scene executing the DVR Warrant.

(DE 65 at 16-18.)    They requested Quinicino come to the scene so that they could enter

Apartment 3 without having to destroy his property. (DE 65 at 95.) Upon arrival, Quinicino

parked his car on the public street with the windows open. (DE 55-4 at 5.) Officers asked

Quinicino if he had marijuana in Apartment 3, to which he replied he did. (DE 65 at 18 and
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124.) This admission alone is sufficient to establish a fair probability that marijuana would

be found in Apartment 3. See Groh, 540 U.S. at 568.

   Curtsinger then walked over to Quinicino’s vehicle. (DE 65 at 92.) He immediately

detected an odor of marijuana emanating from his car. (DE 65 at 102.) In the Sixth Circuit,

there is sufficient probable cause to search a vehicle without a warrant where officers detect

the smell of marijuana. See United States v. Foster, 376 F.3d 577, 583-84 (6th Cir. 2004). In

accordance with Sixth Circuit precedent, Curtsinger searched Quinicino’s vehicle and found

a burnt marijuana cigarette and grinder in the console area. (DE 65 at 102.)

   The officers then made a conservative decision to seek another search warrant for drugs

in Apartment 3. (DE 65 at 103.) Curtsinger left the scene to obtain the warrant, and the

remaining officers were waiting for him to return to begin any search. (DE 65 at 103.)

Officers were told that Apartment 3 was empty and that there was no access from Apartment

1. (DE 65 at 76.) Consequently, when the blinds and doors closed to Apartment 1, the officers

heard loud banging, and observed pipes connected to Apartment 3 move substantially, they

became immediately concerned that someone had accessed Apartment 3 to destroy evidence.

(DE 65 at 77.) Police then made decision to enter Apartment 3 on the basis of exigent

circumstances.

   But the officers still did not search Apartment 3. Instead, they conducted a protective

sweep to secure the scene and prevent further tampering or destruction of evidence. (DE 65

at 78.) During this sweep, the hole leading from Apartment 1 to Apartment 3 was discovered.

(DE 65 at 23 and 79.)

   At this point, probable cause to search Apartment 1 was established and there was a fair

probability that contraband would be found in Apartment 1. See Loggins, 777 F.2d at 338.

Officers justifiably believed someone had gained access to Apartment 3, and they did not

know whether evidence had been tampered with, removed, or destroyed. (DE 65 at 49, 77,
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and 104.)   Appropriately, officers immediately ran down to Apartment 1 to secure the

premises. (DE 65 at 23 and 49.)

   Upon entry of Apartment 1, the officers observed multiple sinks overflowing and clogged

with a white substance. (DE 65 at 82 and 85.) But still, the officers did not conduct a search

and instead, did another sweep. (DE 65 at 82.) They located, detained, and removed all

occupants of Apartment 1. (DE 65 at 82.)

   Once the scene was secured, the officers waited for Curtsinger to return before they

searched either Apartment. (DE 65 at 84.) Detective Evans telephonically relayed the events

at the scene while Curtsinger drafted the Narcotics Warrants. (DE 65 at 104.) It was not

until Curtsinger returned with the warrants that officers finally searched both apartments

and located a firearm and large quantities of cash and drugs. (DE 65 at 52 and 90.)

   The above circumstances are fully relayed in the affidavits used to support the Narcotics

Warrants and are sufficient to establish probable cause. These circumstances would warrant

a reasonable man to believe that evidence of a crime would be located in both apartments.

See Brown, 460 U.S. at 742. There was a substantial basis for the Magistrate’s determination

of probable cause, and his decision should not be disturbed. See Gates, 462 U.S. at 236.

   D. Quinicino’s Constitutional rights were not violated, and the evidence should
      not be suppressed as fruit of the poisonous tree.

   Defendants argue that Quinicino’s incriminating statements about marijuana were

obtained by police in violation of Miranda v. Arizona. (DE 69 at 3.) They assert that this

was a constitutional violation requiring all evidence obtained thereafter to be suppressed as

fruit of the poisonous tree. (DE 69 at 4.)

   Miranda v. Arizona requires that a defendant subject to a custodial interrogation be read

certain warnings to apprise him of his rights under the Fifth Amendment. See Miranda v.

Arizona, 384 U.S. 436 (1966). If there is a custodial interrogation, the accused statement is


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inadmissible unless the prosecution can establish that the accused knowingly and voluntarily

waived his Miranda rights while making the statement. Berghuis v. Thompkins, 560 U.S.

370, 382 (2010). Evidence obtained in violation of Miranda must be suppressed as fruit of

the poisonous tree unless intervening events break the causal connection. See Taylor v.

Alabama, 457 U.S. 687, 690 (1982).

   However, Miranda rights are only triggered upon a custodial interrogation. See Miranda,

384 U.S. at 444. To be in custody for Miranda purposes, the person must either be under

formal arrest or have his freedom of action curtailed to a degree typically associated with

formal arrest. United States v. Cash, 733 F.3d 1264 (10th Cir. 2013). But “not all restraints

on freedom of movement amount to custody for purposes of Miranda.” Howes v. Fields, 565

U.S. 499, 509 (2012). In this analysis, Courts must consider whether the environment

presents the same inherently coercive pressures as stationhouse questioning. Id. Courts

consider the location of the questioning, its duration, statements made during the interview,

the presence or absence of physical restraints during the questioning, the release of the

interviewee at the end of questioning, and any other factor that might be relevant. Id.

Interrogation refers to “any words or action on the part of the police, other than those

normally attendant on arrest and custody, that the police should know are reasonably likely

to elicit an incriminating response.” Rhode Island v. Innis, 446 U.S. 291 (1980).

   Clearly, an officer’s question regarding marijuana possession is reasonably likely to elicit

an incriminating response. However, the Court finds that Quinicino was not in “custody” as

defined by Miranda and its progeny. Evans and Curtsinger both testified that Quinicino was

not placed into handcuffs until after they asked him about the marijuana. (DE 65 at 93 and

102-103.) The relevant factors indicate that Quinicino was not “in custody” when the officers

asked him about the marijuana. Here, officers asked Dorothy to contact Quinicino to come



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to the scene so that they could peacefully execute a validly obtained search warrant out of

courtesy for his property. (DE 65 at 95.) When Quinicino arrived, officers informed him that

they were investigating his neighbor’s shed fire and there to execute a search warrant for the

video equipment, which he refused to release the day before. (DE 65 at 18.) The Court

considers that Quinicino was not handcuffed or restricted in any way; he was permitted to

talk with his family and friends; he was asked about the marijuana in a familiar location—

his own front yard; the duration of questioning was only a couple seconds; and Quinicino was

not even under investigation for the fire. (See DE 65.)

   The Court, however, recognizes that O’Bryan’s testimony is somewhat inconsistent with

the testimonies of Evans and Curtsinger. O’Bryan indicated that Quinicino was detained

before officers asked him about the marijuana. (DE 65 at 18). He testified that Quinicino

stated “[i]f you let me out of these handcuffs, I’ll go get that video for you” prior to being asked

about the marijuana. (DE 65 at 18.) The Court first notes that this statement further

supports that Quinicino knew he was not in custody because no reasonable person believing

he was in custody would think it was an option to go and retrieve the items listed in a search

warrant. The Court also notes that O’Bryan testified that it was Curtsinger who placed the

handcuffs on Quinicino. (DE 65 at 36.) The Court believes that Curtsinger—who physically

placed the handcuffs on Quinicino—is in a better position to recall when he did so. But even

if Quinicino had been detained prior to being asked about the marijuana, he still would not

have been in custody for Miranda purposes.

   There are situations that “exist where a person is detained but not in Miranda custody

because such detention does not sufficiently impair the detained person’s free exercise of his

privilege against self-incrimination to require that he be warned of his constitutional rights.”

United States v. Couch, No. 13-03-GFVT, 2013 WL 6095512 (E.D. Ky. Nov. 20, 2013). The

Supreme Court has held that officers executing a search warrant may detain the occupants
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of the premises in the immediate vicinity while a proper search is conducted, even when there

is no particular suspicion that an individual is involved in criminal activity or poses a specific

danger to the officers. See Michigan v. Summers, 452 U.S. 692, 705 (1981); Muehler v. Mena,

544 U.S. 93 (2005); Bailey v. United States, 568 U.S. 186 (2013). Detaining occupants

facilitates the completion of a search and prevents unrestrained occupants from hiding or

destroying evidence. See Summers, 452 U.S. at 703.

   The Court finds that even if Quinicino was detained prior to officers asking whether he

possessed marijuana, he was not in custody for Miranda purposes because—in addition to

the factors considered above—he was an occupant of the premises in the immediate vicinity

and detained for the purpose of executing a validly obtained search warrant based on

probable cause. Accordingly, Officers were not required to read Quinicino Miranda rights

even though they asked him a question that was reasonably likely to elicit an incriminating

response.

   E. Exigent circumstances warranting police entry.

   Without regard to the probable cause determination, exigent circumstances warranted

police entry into Apartment 3 and then Apartment 1. The government bears the burden of

proving that exigent circumstances existed that warranted police entry.            See Welsh v.

Wisconsin, 466 U.S. 740, 749-50 (1984).

   Exigent circumstances are present where there is an urgent need to prevent evidence

from being lost or destroyed. Kentucky v. King, 563 U.S. 452, 474 (6th Cir. 2005). The Sixth

Circuit has adopted a two-prong-test to determine whether the possibility of destruction of

evidence will justify warrantless entry into a person’s home: (1) whether there is reasonable

belief that third parties are inside the dwelling; and (2) whether there is reasonable belief

that these third parties may soon become aware the police are on their trail, so that the



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destruction of evidence would be in order. United States v. Sangineto-Miranda, 859 F.2d

1501, 1512 (6th Cir. 1988).

   The Defendants assert that “closing blinds and making noise should in no way justify the

warrantless search in this case.” (DE 55 at 16.) The Defendants use Johnson v. United States

to support their argument. (DE 55 at 15-16.) In Johnson, police smelled burning opium and

heard shuffling noise coming from inside a hotel room. Johnson v. United States, 333 U.S.

10, 12 (1948). The court held that there were no exceptional circumstances warranting entry

because there was little risk that drug-related evidence would have been destroyed pending

a warrant execution. Id. at 14-15. The Defendants argue that even if the drugs were being

moved between the apartments, the warrant could have been broadened to search both

apartments. (DE 55 at 16.)

   Johnson is distinguishable from the present case. There, police smelled burning opium,

knocked and announced their presence, then heard shuffling noises. Johnson, 333 U.S. at 12.

At the time police smelled the opium, there was no reason for the defendant to believe that

they were on her trail and that she needed to destroy the evidence. The officers in that case

could have easily secured a warrant prior to their entry. See id. at 15.

   In the present case, at the time police observed the blinds and doors being shut, heard

loud banging, and saw pipes originating from Apartment 3—which was supposedly empty—

move substantially, all parties were aware that the police were on their trail. Officers were

on the premises for the purpose of executing the DVR Warrant when Quinicino admitted to

possessing marijuana in his apartment. (DE 65 at 18). Curtsinger had left the scene to

obtain another warrant for narcotics based on Quinicino’s own admission, which was known

to the parties on the scene. In fact, the officers actively chose to wait to execute the DVR

Warrant until a Narcotics Warrant for Apartment 3 was obtained. (DE 65 at 21.) While they



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were waiting for Curtsinger to return, the remaining officers observed the blinds and doors

being closed and heard loud banging. (DE 65 at 21, 61, 63, and 75.)     Additionally, prior to

this sequence of events, officers were specifically told that Apartment 3 was vacant and that

there was no access to Apartment 3 from Apartment 1. (DE 65 at 76.) Consequently, when

they saw pipes clearly connected to Apartment 3 move substantially, their immediate concern

was that access to Apartment 3 had been gained from Apartment 1 and evidence was being

destroyed. (DE 65 at 77.)

   Applying the two-prong-test to the entry of Apartment 3, pipes moving substantially that

are directly connected to an apartment that is supposedly vacant would cause reasonable

belief that someone was inside. The parties were also aware that police were on their trail

and that the destruction of evidence was in order—all parties were aware that officers were

present to execute the DVR Warrant, that Quinicino had admitted to possessing marijuana

in Apartment 3, and that Curtsinger had left to obtain another warrant for drugs.

Accordingly, the Court finds that exigent circumstances warranted entry into Apartment 3,

even without the existence of the DVR Warrant.

   Exigent circumstances also justified entry into Apartment 1. Entry into Apartment 3 was

permissible based on the analysis above. When the officers entered Apartment 3, they did

not begin searching. Instead, they conducted a protective sweep. (DE 65 at 78.) The Fourth

Amendment permits protective sweeps undertaken by a searching officer if he “possessed a

reasonable belief based on specific and articulable facts which, taken together with the

rational inferences from those facts, reasonably warranted the officer in believing that the

area swept harbored an individual posing a danger to the officers or others.” Maryland v.

Buie, 494 U.S. 325, 327 (1990). “The sweep must be limited to a cursory search of the

premises for the purpose of finding persons hidden there who would threaten the officer’s

safety.” United States v. Taylor, 248 F.3d 506, 513-14 (2001).
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   Officers possessed a reasonable belief that someone was in Apartment 3 because (1) they

were directly told that Apartment 3 was vacant and could not be accessed via Apartment 1;

and (2) they observed substantial movement of pipes directly connected to that unit. (DE 65

at 62 and 76.) When they entered the unit, they began conducting a sweep. (DE 65 at 78.)

Officers opened up a knee wall door on the side of the kitchen area approximately the size of

a utility closet. (DE 65 at 79.) There, officers discovered a large hole and step ladder leading

from Apartment 1. (DE 65 at 79.) Insulation and drywall covered the area—consistent with

a freshly wrecked ceiling. (DE 65 at 79.) The officers justifiably believed someone had gained

access to Apartment 3 via the fresh hole and feared tampering. At this point, exigent

circumstances existed warranting entry into Apartment 1 because there was an urgent need

to prevent evidence from being lost or destroyed.

   Even without the DVR Warrant, officers were justified in entering both Apartments on

the basis of exigent circumstances and the need to conduct a protective sweep. Quinicino, on

his own admission, had marijuana located within his apartment. (DE 65 at 18.) Officers,

rather conservatively, chose to seek an additional search warrant for drugs based on

Quinicino’s admission. (DE 65 at 19.) While seeking that warrant, officers observed the

blinds and doors close to Apartment 1, heard loud banging consistent with the ceiling being

destroyed, and observed substantial movement of pipes connected to Apartment 3. (DE 65

at 21, 61, 63, and 75.) These circumstances are sufficient to establish a reasonable belief that

someone had gained access to Apartment 3 and could pose a danger or be destroying evidence.

Accordingly, the Court concludes that the officers’ entry into both apartments was

permissible.

                                       III.CONCLUSION

   Based on the foregoing, the Court finds that entry into Apartment 3 was permissible on

multiple grounds: (1) the DVR Warrant based on probable cause; (2) exigent circumstances;
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and (3) the need to conduct a protective sweep. Entry into Apartment 1 was permissible on

the basis of exigent circumstances after the hole was discovered in Apartment 3.

Additionally, the Court finds that there was probable cause for the Narcotics Warrants and

that the Defendants’ Constitutional rights were not violated. Accordingly, the evidence will

not be suppressed as fruit of the poisonous tree.

   Based on the foregoing, IT IS HEREBY ORDERED that the Defendants’ Motion to

Suppress (DE 55) is DENIED.

Dated April 8, 2019.




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